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Trazell

SACV 15 - 01146 DOC (JCGX)
v

Experian Services Corp.
Defendant

CIVIL COMPLAINT

This matter derives Experian Services Corporation, a consumer credit information business of
Orange County California, violating Trazell’s consumer rights pursuant to The Consumer Credit
Protection Act Title `Vlll - Public Law 9l-508 United States Statutes at Large 84 stat 1127~1136
THE FAIR CREDIT REPORTING ACT [15 U.S. Code Annotated §1681] herein as (“FCRA”)
permeating domestic violencel. Consumer Trazell conducts business in Washington, D.C.

l. After exhausting some administrative consumer remedies close investigation of the plaintiff
Trazell 2015 consumer credit report, the periods between 201 l~ZOlS specifically, references
several creditors and debt collectors Which have obsolete information, identity theft errors;

and so, the plaintiff through an unrebutted affidavit, notified defendant Experian through its

California and Allen, Texas offices neglecting to block identity theft items, remove obsolete

items and furnish relative fraudulent activity informationz.

 

1 US Constltutlon Section 4

The Unlted States shall guarantee to every State in this Union a Republican Form of Govemment, and shall protect

each of them against lnvasion; and on Application of the Legislature, or of the Executive (when the Legtslature
cannot be convened) against domestic Violence.

UZ""ll.d

 

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2. The neglected discrepancies have caused credit irregularities resulting in a CITIBANK

account denial and four (4) yrs of anguish seeking administrative relief.

3. The violation of FCRA sections 605(a) (4), 616 and 617 vvillfully noncompliant by

neglecting to remove obsolete information including state law D.C. Code 28 §2-725 three (3)

year contract liability limitation The accounts by year Which Experian are still adversely

reporting are as follows:

3.

b.

€.

f.

TD AUTO FINANCE 2007 identity theft / antedates 7yr reporting limit $18,759
VERIZON 20l0 identity theft / antedates 3yr reporting limit $139

FAIR COLLECTIONS AND OUTSOURCING debt collector 2014 identity theft
$4,809

M & T BANK 2011 antedates 3yr reporting limit $16,343

CHASE RECEIVABLES debt collector 2014 $139.37

CAVALRY debt collector 2012 antedates 3yr reporting limit $602.32

4. Accounts (c), (f) and (e) above are in fact debt collectors Which defendant, Experian,

misrepresents as creditors Wherefore, shall only furnish information relative to transaction

and not adversely report a debt violating statute3 FCRA §604 (a)(3)(A) [15 U.S.C. § 1681b].

5. Upon credit bureau notification of dispute according to FCRA §623 (b) [15 U.S.C. § 1681s-

2] the modification, deletion and permanently blocking items have not taken place.

6. Wherefore relief prayer requests a $47,000 compensatory judgment and $108,000 statutory

award

 

2 FCRA §615(g) Requirements on users ot consumer reports [15 U.S.C. § 1681m]

(2) upon request of the consumer to whom the debt purportedly relates, provide to the consumer all information
to which the consumer would otherwise be entitled if the consumer were not a victim of identity theft, but wished
to dispute the debt under provisions of law applicable to that person.

3 (A) intends to use the information in connection with a credit transaction involving the consumer on whom the
information is to be furnished and involving the extension of credit to, or review or collection of an account of, the

COl'\SUm€l“

 

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a. trial by jury

b. remove fraud alert

c. deletion of telephone numbers 703-310-4910
d. deletion of accounts (a) ~ (f)

e. any Warranted exemplary relief

28 USC 1746

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Trazell, De Lonte

 

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